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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                                 §     Chapter 11
                                                       §
BURKHALTER RIGGING, INC., et al1                       §     Case No. 19-30495 (MI)
                                                       §
             DEBTOR(S)                                 §     (Jointly Administered)

                     NOTICE OF ORGANIZATIONAL MEETING
               FOR OFFICIAL COMMITTEE OF UNSECURED CREDITORS

       The organizational meeting for the Official Committee of Unsecured Creditors in the
captioned case will be convened by telephone conference on February 19, 2019 at 11:00 a.m.,
CST. Members of the committee have been provided call-in instructions. Members may also
appear in person at the Office of the United States Trustee, United States Courthouse, 515 Rusk,
Third Floor, Suite 3401, Houston, Texas 77002.

Dated: February 19, 2019                               HENRY G. HOBBS, JR.
                                                       ACTING UNITED STATES TRUSTEE


                                                       By: /s/ Stephen D. Statham
                                                       Stephen D. Statham
                                                       Trial Attorney
                                                       Texas Bar No.19082500
                                                       Office of the United States Trustee
                                                       515 Rusk Avenue, Suite 3516
                                                       Houston, TX 77002
                                                       (713) 718-4650 Ext 252
                                                       (713) 718-4670 Fax


                                     CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Notice of Organizational
Meeting for the Official Committee of Unsecured Creditors has been served by electronic means
on all PACER participants on this 19th day of February, 2019.

                                                     /s/ Stephen D. Statham
                                                     Stephen D. Statham
                                                     Trial Attorney

1The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Burkhalter Rigging, Inc. (8314); Burkhalter Specialized Transport, LLC (1511); Burkhalter
Transport, Inc. (2096). The address for all of the Debtors is 2193 Highway 45 South, Columbus, MS 39701.
